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                      IN THE DISTRICT COURT OF THE UNITED STATES
                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                            §
                                                     §
                 Plaintiff,                          §
                                                     §
vs.                                                  §                      Cause No. 05-CR-1849-JH
                                                     §
DANA JARVIS, et al,                                  §
                                                     §
                 Defendants.

                      JOINDER IN DEFENDANT AYLA JARVIS’ MOTION
                     FOR SEVERANCE FROM CO-DEFENDANTS, Doc. 714

          Greg Hill, by his undersigned counsel, hereby joins in the motion filed by defendant Ayla Jarvis

on October 20, 2006, seeking to sever her case from those of co-defendants (Doc. 714), and would

specifically add to facts and argument presented in that allegation the following:

          Mr. Hill is alleged by the government to have participation limited to Indiana, a state in which

few other co-defendants are alleged to have participated. He is alleged to have participated for only

a very short time of the conspiracy (he understands that the prosecution’s proof would show only one

of fifteen years). While unlike Ms. Jarvis, he was legally of age in 1990, he is accused under the terms

of the indictment of conspiring with her when she was four years old, although Mr. Hill believes the

evidence would show that their first and only contact occurred in October of 2004, when Ayla Jarvis

was 18.

                                         Respectfully submitted,

                                           electronically filed
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                                         Counsel for Mr. Hill
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                                    C ERTIFICATE OF S ERVICE

       I hereby certify that a true and correct copy of the foregoing Joinder in Motion was served on
James Braun, Assistant United States Attorney, P.O. Box 607, Albuquerque, New Mexico, 87103, on
November 2, 2006.



                                      electronically filed
                                     KARI CONVERSE
